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COUNSEL FOR TRUSTEE

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

IN RE:

Gr

MICHAEL STEPHEN GALMOR, CASE NO. 18-20209-RLJ-7
Debtor.
And

GALMOR’S/G&G STEAM SERVICE,
INC.,

CASE NO. 18-20210-RLJ-7

Debtor.

KENT RIES, TRUSTEE,
Plaintiff,

v. ADVERSARY NO. 20-2003

GALMOR FAMILY LIMITED

PARTNERSHIP and GALMOR
MANAGEMENT, L.L.C.,

GR UR GP OP UG LP GN Sa LP? WO LP [2 UO? GOP (02 UO? 609 Ue Ls

Defendants.

APPLICATION FOR APPROVAL OF EMPLOYMENT OF
KELLYE FUCHS AS A LITIGATION CONSULTANT

TO THE HONORABLE ROBERT L. JONES, BANKRUPTCY JUDGE:
COMES NOW, Kent Ries, Trustee (“Trustee”) of the referenced Chapter 7 bankruptcy

estates and Plaintiff herein, and hereby files his Application for Approval of Employment of

APPLICATION FOR APPROVAL OF EMPLOYMENT OF KELLYE FUCHS AS A LITIGATION CONSULTANT- PAGE 1
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Kellye Fuchs as a Litigation Consultant (the “Application”), and would show the Court the
following:

1. Adversary Proceeding 20-2003 (the “Adversary”) was initiated on April 24, 2020
as a severed claim from Adversary Proceeding No. 19-2006.

2. The Trustee asserts it is necessary to employ Kellye Fuchs of PK & Company,
PLLC, pursuant to 11 U.S.C. § 327(e), to review and potentially testify about historical
accounting and related information regarding the bankruptcy Estates’ claims in the Adversary.

3. The Adversary involves claims against the Defendant entities for reimbursement of
advances and expenses incurred by the two referenced bankruptcy Estates. The claims were
scheduled by the Debtors in both cases and are being disputed by the Defendants in the Adversary.

4, The Trustee desires to hire Kellye Fuchs in the Adversary primarily to obtain her
factual knowledge and accounting expertise regarding the issues that are the core issues in the
Adversary. Kellye Fuchs is a Certified Public Accountant who previously performed services for
both Debtors, and their related entities, including the adverse parties. Kellye Fuchs and her firm
also have documents and knowledge of the relationship of the parties and their historical financial
transactions that form the basis of the Adversary. Kellye Fuchs expertise as a Certified Public
Accountant will assist the Trustee in the prosecution of the claims in the Adversary, including
responding to the defenses raised by the Defendants.

5. The Trustee desires that he be authorized to employ Kellye Fuchs and to pay her
such compensation and reimbursement of expenses as is just pursuant to 11 U.S.C. § 330 and
Rule 2016 of the Federal Rules of Bankruptcy Procedure. Kellye Fuchs has substantial

experience in the preparation of accounting records, financial statements and tax returns. Kellye

APPLICATION FOR APPROVAL OF EMPLOYMENT OF KELLYE FUCHS AS A LITIGATION CONSULTANT- PAGE 2
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Fuchs’ affidavit as required by 11 U.S.C. § 327 is attached hereto as Exhibit A and incorporated
herein by reference for all purposes.

6. The hourly rate for legal services provided by Kellye Fuchs to the bankruptcy
Estates will be $275.00 per hour.

WHEREFORE, PREMISES CONSIDERED, Kent Ries, Trustee herein, respectfully
prays for an Order of this Court approving the employment of Kellye Fuchs as a litigation
consultant to perform professional services for the Trustee in the Adversary Proceeding, and for
such other relief, at law or in equity, to which the Trustee may show himself justly entitled.

Respectfully submitted,
Kent Ries, Attorney at Law

2700 S. Western St., Suite 300
Amarillo, Texas 79109

{L
By:_/s/ Kent Ries *

Kent Ries
State Bar No. 1691450

COUNSEL FOR TRUSTEE

CERTIFICATE OF SERVICE
I certify that on the 6" day of August, 2021, a true and correct copy of the foregoing
Application was sent either electronically via ECF or mailed in the United States mail, postage
prepaid, to the parties listed below and on the attached mailing matrix.

Kellye Fuchs

PK & Company, PLLC
1000 N Main St

Elk City, Oklahoma, 73644
pkcompany(@pk-cpa.com

Phone: (580) 225-8877

 

APPLICATION FOR APPROVAL OF EMPLOYMENT OF KELLYE FUCHS AS A LITIGATION CONSULTANT-— PAGE 3
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é

/s/_ Kent Ries.
Kent Ries

APPLICATION FOR APPROVAL OF EMPLOYMENT OF KELLYE FUCHS AS A LITIGATION CONSULTANT-— PAGE 4
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STATE OF TEXAS §
§ KNOW ALL MEN BY THESE PRESENTS:

COUNTY OF POTTER §

AFFIDAVIT OF KELLYE FUCHS

BEFORE ME, the undersigned authority, on this day personally appeared Kellye Fuchs,
Elk City, Oklahoma, being by me duly swom, upon oath deposed and said:

1. | am a resident of Elk City, County, Oklahoma; am over the age of 21 years
and am of sound mind and have never been convicted of an offense.

2. 1 am Certified Public Accountant licensed to practice in the State of Oklahoma,
and possess all of the qualifications of a Certified Public Accountant in the State of Oklahoma.

3. I have reviewed the Application by the Trustee for approval to retain Kellye
Fuchs a ligation consultant. I have extensive knowledge and experience in accounting practices
and procedures and am in all respects qualified to render the necessary consulting services
requested by the Trustee.

4. Kellyc Fuchs and her accounting Firm, P K & Company, PLLC, have previously
represented Michael Stephen Galmor, Galmor’s/G&G Steam Service, Inc, and Galmor Family
Limited Partnership and Galmor Management, L.L.C. in preparing tax returns and financial
statements. Other than this representation, | have no connection with any creditors of the estates,
any party in the United States Trustee’s office or any other parties which have interests adverse

FURTHER AFFIANT SAITH NOT.

to the Bankruptcy Estates.

KellyéFaths C)

SWORN TO AND SUBSCRIBED BEFORE ME this 30 day of July, 2021.

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Notary Public, State of Oklahoma s_ 79%, “6

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Case 18-20209-rlj7 Doc 203 Filed 08/06/21 Entered 08/06/21 10:43:29 Page 6 of 12

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